 

Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 1 of 19 Page|D #: 4

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IN 'I`HE CIRCUIT COUR'I` OF BAXTER COUNTY, ARKANSAS
CIVIL DIVISION

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MAR 2 5 2015

Ron Dawkins, as Special Administrator
and Persunal Representative of the
Estate of Bette M. Despard, deceased,
natural heir at law of Bette M. Despard,
and on behalf of the wrongful death
beneficiaries of Bette M. Despard,

C!
by o.c.

Clerk

 

Plaintiff,

Case No.: CV 1010- q"\°'z

Div. No.:
The Evangelical Lutheran Good
Samaritan Society, dib/a Good
Samaritan Society-Mountain Home,

Serve Registered Agent at:
The Corporation Company
425 W. Capitol Ave.
Suite 1700
Little Rock, AR 72201

and JURY TRIAL DEMANDED

JOHN DOES 1-5,

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Defendants.

COMPLAINT FOR DAMAGES
COMES NOW Plaintiff, Ron Dawkins, as the Special Admirlistrator and Personal
Representative of the Estate of Bette M. Despard, deceased, as the natural heir at law of
Bette M. Despard, and on behalf of the wrongful death beneficiaries of Bette M. Despard,
(hereafter “Plaintiff”), by and through his counsel of record and for his claims against

Defendant The Evangelical Lutheran Good Samaritan Society d/b/a Good Samaritan

EXH|B|T

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Case 3:16-cv-03049-TLB Document 1-1

 

Society-Mountain Home and John Does 1-5, and for his Cornplaint of Darnages hereby
states and alleges as follows:
I. INTRODUCTION & STATEMENT OF CASE

1. This lawsuit is a claim of negligence, wrongful death and violation of
Long-Term Care Facilities and Services Act, Ark. Code Ann. § 20-10-1209, by The
Evangelical Lutheran Good Samaritan Society, d/b/a Good Samaritan Society-Mountain
Home, a nursing home in Mountain Home, Arkansas (“Defendant Nursing Home”).
Plaintiff alleges that Defendant Nursing Home failed to provide adequate care and
protection against falls to Decedent Bette M. Despard (“Deeedent"). As a result of
Defendant Nursing Home`s and its employees’ negligence Decedent Suffered a broken
hip and two broken femurs. Plaintiff also alleges that Decedent eventually died from
from the negligence of Defendant Nursing Home and its employees

ll. PARTIES

2. Plaintitf Ron Dawkins (“Plaintift”) resides at 4934 Strong Ave, Kansas
City, Kansas 66101 and is the natural heir at law of Bette M. Despard, deceased. Plaintiff
is the Special Administrator and Personal Representative of the Estate of Bette M.
Despard pursuant to a March 6, 2016 Order of the Baxter County Circuit Court, Probate
Division, and evidenced by Letters of Administration issued by the Clerk of the Baxter
County Circuit Court, Probate Division, a copy of which is attached hereto as Exhibit A.

3. Defendant Nursing Home conducts business as a long-term care facility
and nursing home at 300 Good Sarnaritan Drive, Mountain Home, AR 72653, Baxter
County, Arkansas. At all times, Defendant Nursing Home acted by and through its

employees, agents and representatives who acted within the course and scope of their

Filed 05/04/16 Page 2 of 19 Page|D #: 5

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Case 3:16-cv-03049-TLB Document 1-1

 

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respective employment or agency. Defendant Nursing Home may be served with process
through its registered agent, The Corporation Company, 425 W. Capitol Ave., Suite
1700, Little Rock, Ark. 72201.

4. John Does 1-5, upon information and belief, may have committed medical
malpractice and/or were negligent in providing medical care to Decedent, while she was
under the care of Defendant Nursing Home, or are individuals, corporations, limited
liability companies or other entities that may have had the right to control the operations
of Defendant Nursing Home. Pursuant to Ark. Code Ann. § 16-56-125 and subject to the
Act 649 of 2003, “the Civil Justice Reform Act of 2003,” Plaintiff has attached as Exhibi!
B and incorporated by reference herein a John Doe Tortfeasor Afiidavit to toll the statute
of limitations for the claims alleged herein against Iohn Doe l-5.

5. Whenever the term “Defendants” is utilized, such term collectively refers
to and includes all the named Defendants in this suit.

6. Whenever it is alleged that Defendants did any act or thing or failed to do
any act or thing, it is meant that the officers, agents, or employees of the designated
companies respectively performed, participated in, or failed to perform such acts or
things while in the scope and course of their employment and/or agency relationship With
said Defendants.

III. JURISI)ICTION AND VENUE

7. Jurisdiction and venue are proper in this court because Defendant

maintains offices for the usual conduct of their respective business in Baxter County,

Arkansas. ln addition, each of the tortious acts alleged herein occurred in Baxter County,

Filed 05/04/16 Page 3 of 19 Page|D #: 6

Case 3:16-cv-03049-TLB Document 1-1

 

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Arkansas. Finally, Decedent was a resident of Arkansas at the time of the negligence acts
and her death.
lV. FACTUAL ALLEGATIONS

8. On or about May 4, 2013, Decedent was admitted to Defendants’ nursing
home facility, where she resided for approximately 10 months.

9. Prior to her admission, Decedent fell at her home in Midway, Arkansas
and broke her hip.

10. Decedent could not walk on her own at the time, her family could not
properly care for her, and she required medical/nursing care and additional supervision to
keep her safe.

11. Decedent was admitted to Defendants’ nursing horne facility to obtain
room and board, required nursing care, and dietary services and to promote her
safety/well being.

12. On or about the same day of her admission, Defendants conducted a Fall
Assessment test and determined that Decedent was a high risk for falling

13. During the course of her short stay at Defendants’ nursing home facility,
Decedent fell at least three additional times, each time breaking a significant bone in her
body. First, she broke her other hip, then her right femur and finally, her lett femur.

14. On March 17, 2014, Decedent was transported to hospice care as it did not
appear she would live much longer due to the injuries she suffered to her hip and legs
while in the care of the Defendants.

15. Several weeks later, on May 31, 2014, Decedent died at the Ozarks

Hospice House.

Filed 05/04/16 Page 4 of 19 Page|D #: 7

Case 3:16-cv-03049-TLB Document 1-1

 

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16. At all reievant times, Decedent was in the care and treatment of
Defendants and their employees and/or agents, and Defendants’ employees and/or agents
acted in furtherance of Defendants’ business interests.

V. CAUSES OF ACTION
Count I - Negligence and Wrongful Death

17. Plaintiff incorporates paragraphs 1 through 15 as fully set forth in haec
verba.

18. Defendants owed a non-delegable duty to residents, including Decedent,
to provide adequate and appropriate custodial care and supervision, which a reasonably
careful person would provide under similar circumstances

19. Defendants owed a non-delegable duty to residents, including Decedent,
in attaining and maintaining the highest level or physical, mental, and psychosocial well-
being.

20. Defendants owed a non-delegable duty to residents, including Decedent,
to hire, train, and supervise employees so that such employees delivered care and services
to residents in a safe and beneficial manner

21. Given Decedent’s clear limited mobility and fall risk assessment score,
Defendants had a duty to provide her a standard of care and treatment that was usually
exhibited by such nursing home facilities in the community, as well as to protect her
safety and well being.

22. Defendants breached these duties by failing to exercise reasonable care

and by failing to prevent the mistreatment, abuse and neglect of Decedent. The

Filed 05/04/16 Page 5 of 19 Page|D #: 8. __

 

Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 6 of 19 Page|D #: 9

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negligence of Defendants includes, but is not limited to, the following the following acts

and omissions:

a. failing to provide proper medical care and
treatrnent;
b. failing to take reasonable precautions to care for Decedent given

her condition;

c. failing to follow the additional care required to monitor Decedent;

d. failing to properly assess and develop a care plan under CFR
guidelines;

e. failing to provide Decedent with a standard of care that is usually

exhibited by such nursing home facilities in the community;

f. failing to take reasonable precautions to prevent Decedent from
slipping and falling;

g. failing to properly supervise Decedent and failing to protect her
from injury;

h. failure to properly train, irl-service and orient employees as to

pertinent care needs to maintain the safety of Defendant and other
residents; and

i. failing to take reasonable precautions to prevent Decedent from
slipping and falling and thereby violating AR. ST. § 20-10-1209.

23. A reasonably prudent nursing home entity, operator or service provider,
operating under the same or similar conditions, would not have failed to provide the
ordinary care listed abovel Each of the foregoing acts of negligence on the part of
Defendants was a proximate cause of Decedent’s injuries and death as more specifically
described herein, which were all foreseeable Decedent suffered excruciating pain,
mental anguish, emotional distress, decreased mobility, and additional medical expenses
prior to her death, and then an ultimately death, which caused her farnin to suffer more

than normal grief. Plaintiff prays for compensatory damages for the wrongful death of

Case 3:16-cv-03049-TLB Document 1-1

 

Decedent, including the grief suffered as well as the expenses of her funeral, medical
expenses, and other related costs.

24. As a proximate result of the aforementioned negligence, including those
that constitute violations of the Ark. Code Ann. § 20-10-1209(a)(4), Plaintiff is entitled to
recover and asserts a claim for all elements of actual and compensatory damages such as
physical pain and suffering, mental anguish, humiliation, emotional distress and loss of
life in an amount exceeding that required for federal court jurisdiction in diversity of
citizenship cases.

Count 11 - Violation of the Long- Term Care Facilities and Servr'ces Act
Ark. Code Ann. § 20-10-1209(6)

25. Plaintiff incorporates paragraphs l through 18 as fully set forth in haec
verba.

26. Defendants’ nursing home facility is a long-term care facility and had a
statutorily mandated responsibility to provide Decedent nursing home rights pursuant to
Ark. Code. Ann. § 20~10-1201, et seq. At all times relevant herein, Decedent was under
the care and treatment of Defendants.

27. Defendants’ responsibilities to Decedent in said statute are non-delegable
in that Defendants are directly liable for deprivations, and infringements by any person or
entity under its control, direct or indirect, including its employees, agents, consultants,
and independent contractors, whether in-house or outside entities, individuals, agencies,
or pools, or caused by Defendants' policies, whether written or unwritten, or common

practices

Filed 05/04/16 Page 7_0L19-BagelD-#Z_LO_-__

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Case 3:16-cv-03049-TLB Document 1-1

 

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28. The duty alleged in the immediately preceding paragraph includes, but is
not limited to, proper training and supervision; proper hiring, background and referral
checks; and proper retraining and dismissing or employees, agents, consultants and
independent contractors

29. Notwithstanding, Defendants, through mistreatment or neglect, infringed
upon or deprived Decedent of the following statutory resident’s rights:

a. 'I`he right to receive adequate and proper health care and protective
and support services, including social services, mental health
services, if available, planning recreational activities, and
therapeutic and rehabilitative services consistent with resident care
planning, with established and recognized practice standards of the
community, and with rules as adopted by the agency;

b. The right to private and uncensored communication, including, but
not limited to, receiving and sending unopened correspondence,

and access to a telephone; and

c. The right to be treated courteously, fairly, and with the fullest
measure of dignity.

30. Further, employees and/or agents of the Defendants failed to provide
Decedent with adequate fall prevention assistance, supervision, and proper care plan that
a reasonably careful person would have provided under the circumstances and given the
condition of the Decedent.

31. These failures caused Decedent to fall several times, sustain injuries to her
hip and legs, and eventually to die.

32. As a result of the aforementioned violations of the Arkansas Code,
Plaintiff, pursuant to Ark. Code Ann. § 20-10-1209(a)(4), is entitled to recover and
asserts a claim for all actual and compensatory damages including but not limited to

physical pain and suffering, mental anguish, humiliation, emotional distress and loss of

Filed 05/04/16 Page 8 of 19 Page|D #: 11

Case 3:16-cv-03049-TLB Document 1-1

 

 

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life in an amount exceeding that required for federal court jurisdiction in diversity of
citizenship cases, because these violations are the result of employees and/or agents of
Defendants failing to do that, which a reasonably careful person would do under
circumstances similar to those shown by the evidence in this case, which in turn caused
the injuries suffered by Decedent and her death, as more specifically described in this
Complaint.

33. The infringement or deprivations of resident’s rights by Defendants were
willful, wanton, gross, flagrant, reckless, or consciously indifferent to the rights of
Decedent. Pursuant to the Ark. Code Ann. § 20-10-1209(c), Plaintiff is entitled to
recover punitive damages from Defendants

VI. DEMAND FOR JURY TRIAL AND RESERVATIONS

34. Plaintiff requests a jury trial on all issues herein.

35. Plaintiff reserves his right to amend the Complaint to proof.

36. Plaintiff reserves the right to file additional and supplemental pleadings
alter further investigation and discovery.

VII. PRAYER FOR RELIEF

Wherefore, Plaintiff, as personal representative and natural heir at law of
Decedent, and on behalf of the wrongful death beneficiaries of Decedent, pray for
judgment against Defendants jointly and severally against Defendants as follows:

37. For damages in an amount adequate to compensate the Estate for the
injuries and damage sustained and exceeding that required for federal court jurisdiction in
diversity of citizenship cases, including but not limited to:

a. Decedent’s pain and suffering;

Filed 05/04/16 Page 9 of 19 Page|~D-#:_LZ___-_

 

 

Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 10 of 19 Page|D_#:_13_

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b. Decedent’s mental anguish;

c. Decedent’s humiliation;

d. Decedent’s emotional distress; and
e. Decedent’s loss of life.

38. For damages in an amount adequate to compensate the wrongful death
beneficiaries of Decedent for the injuries and damage sustained and exceeding that
required for federal court jurisdiction in diversity of citizenship cases, plus costs and all
other relief to which Plaintiff is entitled by law;

39. For all general and special damages caused by the conduct of Defendants,
in an amount to be determined by a jury, and exceeding that required for federal court
jurisdiction in diversity of citizenship cases, plus costs and all other relief to which
Plaintiff is entitled by law;

40. For the costs cf litigating this case;

41. For punitive damages against Defendants to punish them for their
egregious and malicious misconduct in reckless disregard and conscious indifference to
the consequences to Decedents and her statutory beneficiaries and to deter Defendants
and others from repeating such atrocities; and

42. For all other and further relief to which Plaintiff is entitled by Arkansas

law.

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Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 11 of 19 Page|D #: 14

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Respectfully Submitted,

Bautista Allen LLC

    

By:

 

JO M. Bautista, Ark. # 2009-005
aniel L. Allen, Ark. # 2011-291
104 W. 9“‘ st., sre. 205

Kansas City, Missouri 64105
(816) 221-0382 (Tel.)

(800) 816-7060 (Fax)

j ose@bautistaallen.com
danie_@_l bautis.taalkm:<)_m

Andrew S. Leroy, PHV Pending
4600 Madison Avenue, Suite 711
Kansas City, Missouri 64112
(816) 866-7711 telephone

(816) 866-7715 facsimile
andrew@accidentlawkc.com

 

ATTORNEYS FOR PLAINTIFF

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Case 3:16-cv-03049-TLB Document 1-1

 

 

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IN THE ClRCUlT COURT OF BAXTER COUNTY, ARKANSAS

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That Rona|d Dawkins, whose address is 4934 Strong Avenue, Kansas City, Kansas 66106,
having been duly appointed and qualified as Special Administrator of the Estate of Bette M.
Despard, who died on May 31, 2014, ls hereby authorized to act as Specia| Administrator for and
in behalf of the estate, to file suit in a court of competent jurisdiction for claims relating to the
death of the decedent, and shall have authority to contract with Bautista Al|en, LLC and Winburn,
Mano, Schrader & Shram, PLLC for representation of the estate and statutory heir in the
prosecution of this action including negotiation, mediation or litigation of this matter.

lSSUED this day, March 2015.

 

Clerk
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Filed 05/04/16 Page 12 of 19 Page|D #: 15

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IN THE CIRCUIT COURT OF BAXTER COUNTY, ARKANSAS
CIVIL DIVISION

Ron Dawkins, as Special Administrator
and Personal Representative of the
Estate of Bette M. Dcspard, deceased,
natural heir at law of Bette M. Despard,
and on behalf of the wrongful death
beneficiaries of Bette M. Despard, PLAINTIFF
v. No.
THE EVANGELICAL LUTHERAN
GOOD SAMARITAN SOCIETY,
dib/a GOOD SAMARITAN SOCIETY-
MOUNTAIN HOME, and
JOHN DOES 1-5, DEFENDANTS
AFFIDAVIT
COMES NOW the undersigned who, after being duly sworn, solemnly swears that the
following facts and information are true and correct to the best of my knowledge and belief:
l. I am one of the attorneys who represent the Plaintiff in the above captioned case.
2. Defendants John Doe 1-5 are individuals, corporations, limited liability
companies or other entities that may have owned, managed, operated and/or controlled The
Evangelical Lutheran Good Sarnaritan Society, d/b/a Good Samaritan Society-Mountain Home,
at times relevant to this action, causing the circumstances that led to Bette M. Despard’s injuries
and death.
3. After diligent inquiry, I do not know the identities of Defendants John Doe 1-5. In
addition, neither co-counsel for Plaintiff nor my client know the identities of Defendants John
Doe l-S.

4. Upon determining the identity of the unknown parties, I will timely amend the

complaint by substituting the true name of Defendants John Doe 1-5.

 

Filed 05/04/16 Page 13 of 19 Page|D #: 16

 

 

Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 14 of 19 Page|D #:--~17_-___

5. This Affidavit is filed in accordance with Ark. Code Ann. § 16-56-125.

@J

FURTHER AFFIANT SAITH NOT.

 

y Bautista, Esq.

VERIFCATION

STATE OF MISSOURI )
) ss.
COUNTY OF JACKSON )

SUBSCRIBED AND SWORN TO before me, a Notary Public, on this I'Z* day of

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Notary Public

My Commission Expires:

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Mgz 20 #, 2013 utz-Notary seal
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Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 15 of 19 Page|D #: 18

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IN THE CIRCUlT COURT OF BAXTER COUNTY, ARKANSAS
CIVIL DIVISION

Ron Dawkins, as Special Administrator
and Personal Representative of the
Estatc of Bette M. Despard, deceased,
natural heir at law of Bette M. Despard,
and on behalf of the wrongful death
beneficiaries of Bette M. Despard,

Plaintiff,

Div. No.:
The Evangelical Lutheran Good
Samaritan Society, d/b/a Good
Samaritan Society-Mountain Home,

and JURY TRIAL DEMANDED

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j Case No.: CV 10“"" qq‘ 3
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JOHN DOES 1-5, )
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Defendants.
§UMM
THE STATE OF ARKANSAS TO DEFENDANT:

The Evangelical Lutheran Good Samaritan Society
d/b/a Good Samaritan Society Mountain Home

Registered Agent
The Corporation Company 425 W. Capitol Ave., Suite 1700
Little Rock, Arkansas 72201

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint
Within 30 days alter service of this summons on you (not counting the day you received it) - 60
days if you are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas -
you must file with the clerk of this court a written answer to the complaint or motion under Rule
12 of the Arkansas Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiffs attomey, whose name
and address are:

 

 

Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 16 of 19 Page|D #: 19

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Jose M. Bautista & Daniel L. Allen
BAUTISTA ALLEN LLC

104 w 9‘*‘ Srreet, Suite 205

Kansas City, Missouri 64105

If you fail to respond within the applicable time period, judgment by default may be entered
against you for the relief demanded in the complaint

CLERK COURT

1 E. 7‘h street suite 103
Mountain Home, Arkansas 72653

   

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Date \~"“

 

Case 3:16-cv-03049-TLB Document 1-1

Filed 05/04/16 Page 17 of 19 Page|D #: 20

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No. This summons is for
Defendan¢).

(name of

 

 

PROOF OP SERVICE

 

I personally delivered the summons and complaint to the individual at

 

[place] on [date]; or

 

 

 

l left the summons and complaint in the proximity of the individual by
after lie/she refined to receive it when I offered it to him/her; or

 

 

 

I left the summons and complaint at the individual’s dwelling house or usual place of

 

 

 

abode at [address] with [name}, a
person at least 14 years of age who resides there, on [date]; or

:l l delivered the summons and complaint to [name of'individual],

an agent authorized by appointment or by law to receive service ofsurnmons on behalf of
[name of defendant] on [date]; or

EI am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served
the summons and complaint on the defendant by certified mail, return receipt requested,

restricted delivery, as shown by the attached signed return receipt.

l:ll am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and l mailed a
copy of the summons and complaint by first~class mail to the defendant together with two

copies of a notice and acknowledgment and received the attached notice and
acknowledgment form within twenty days after the date ofmailing.

 

 

Other [specify]:

 

 

 

I was unable to execute service because:

 

 

 

 

My fee is 3 .

 

 

Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Dage 19 of 19£ageln ff' 91

 

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To be completed if service is by a sheriff or deputy sherifl':

Date: SI-IERIFF OF COUNTY, ARKANSAS

By:
{Signature of server]

 

[Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sherifi`:

Date: By:
[Signature ofscrver]

 

[Printed name]

Address:

 

 

Phone:

 

Subscribed and sworn to before me this dace:

 

Notary Public

My commission expires:

Additional information regarding service or attempted service:

 

 

 

Case 3:16-cv-03049-TLB Document 1-1 Filed 05/04/16 Page 19 of 19 Page|D #: 22

AFF|DAVIT OF SERV|CE
Swte of Arkansas County of Baxter Circuit Court
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Case Number: CV 2016-97-3 s
_ . ‘ M
Plaintiff:
Ron Dawkins, as Special Administrtor and Pehsona| Representative of The Estate of
Bette M. Despard, deceased; ET AL
vs. APR 1 ii 2018
Defendant

The Evangeiica| Lutheran Good Samariwn Society, dibfa Good Samaritan Society-

Mountain Home cl 2

For: Danie| Alien
Bautista Alien LLC by D.C

   
  

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by eliveririg a true copy of the SUMMONS, NOT!CE, COMPLAIN`|' FOR DA GES, EXH|
with state statutes in the manner marked below.'

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| certify that l have no interest in the above action, am of |egai age and have proper authority in the jurisdiction in which this service
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MYERS ATTORNE‘('S SERV|CE
300 Spring Bui|dirig

300 Spring Street, Suite 715
Littie Rock, AR 72201

(501) 376~6266

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